Case 19-80064-TLS             Doc 4      Filed 01/16/19 Entered 01/16/19 08:27:31                      Desc Main
                                         Document     Page 1 of 34


                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEBRASKA

                                                                        )
In re:                                                                  ) Chapter 11
                                                                        )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al., 1                         ) Case No. 19-[____] (___)
                                                                        )
                          Debtors.                                      ) (Joint Administration Requested)
                                                                        )

                           DECLARATION OF RUSSELL L.
                    STEINHORST, CHIEF EXECUTIVE OFFICER, OF
                    SPECIALTY RETAIL SHOPS HOLDING CORP., IN
              SUPPORT OF CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

         I, Russell L. Steinhorst, hereby declare under penalty of perjury:

         1.      I am the Chief Executive Officer of Specialty Retail Shops Holding Corp.

(“Shopko”) and its debtor affiliates, as debtors and debtors in possession in the above-captioned

chapter 11 cases (collectively, the “Debtors”). In such capacity, I am generally familiar with the

Debtors’ day-to-day operations, business and financial affairs, and books and records. I am above

18 years of age, and I am competent to testify.

         2.      I have served as Shopko’s Chief Executive Officer since November 2017, prior to

which I served as Shopko’s CFO and Senior Vice President of Finance, after initially joining

Shopko in 2009 as Vice President and Controller. I have over 20 years of industry experience and

previously served as CFO at Hudson Sharp Machine Co. and O’Sullivan Industries. I hold a BBA

in accounting from the University of Wisconsin-Oshkosh.



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
    Transportation LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
    R/E SPE, LLC (6679); Shopko Finance, LLC (1152); ShopKo Gift Card Co., LLC (2161); ShopKo Holding
    Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
    LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
    (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin, 54304.




KE 58321972
Case 19-80064-TLS         Doc 4     Filed 01/16/19 Entered 01/16/19 08:27:31             Desc Main
                                    Document     Page 2 of 34


          3.   I submit this declaration to assist this Court and parties in interest in understanding

the circumstances that compelled the commencement of these chapter 11 cases and in support of:

(a) the Debtors’ petitions for relief under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”) filed on January 16, 2019 (the “Petition Date”); and (b) the emergency relief

that the Debtors have requested from the Court pursuant to the motions and applications described

herein.

          4.   Except as otherwise indicated herein, all facts set forth in this declaration are based

upon my personal knowledge, input by the Debtors’ management team and advisors, my review

of relevant documents and information concerning the Debtors’ operations, financial affairs, and

restructuring initiatives, or my opinions based on my experience and knowledge. If called upon

to testify, I could and would testify competently to the facts set forth herein.

                                      Preliminary Statement

          5.   Shopko, founded in 1962 and headquartered in Green Bay, Wisconsin, is a leading

operator of over 300 general merchandise stores throughout the Midwestern, Northwestern, and

Southwestern regions of the United States. The Debtors employ over 15,000 individuals, and offer

a broad assortment of name brand and private brand merchandise including clothing and

accessories, electronics, and home furnishings, as well as Debtor-operated pharmacy and optical

services departments. In many instances, the Debtors’ stores are an integral part of the fabric of

the communities in which they operate.

          6.   Unfortunately, the Debtors, like many other retail companies, have recently fallen

victim to adverse macro-trends, including the general shift away from brick-and-mortar stores to

online retail channels. More specifically, retail companies like Shopko, with a substantial physical

footprint, bear higher expenses than web-based retailers and are heavily dependent on store traffic,

which has decreased significantly as consumers increasingly shop online rather than in malls or


                                                  2
Case 19-80064-TLS         Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31              Desc Main
                                   Document     Page 3 of 34


shopping centers. In addition to competing against online retailers, the Debtors have struggled

against other established brick-and-mortar retailers, such as Walmart and Target, who have less

leveraged capital structures and greater economies of scale. These factors allow the Debtors’

competitors to offer lower prices than the Debtors and still bear the high operating expenses

associated with brick-and-mortar retail. Further, consolidation in the pharmacy industry has led

to a lack of pricing power for retail pharmacies of Shopko’s size.

       7.      These market developments, compounded with an underdeveloped online presence

and wholesale platform and certain above-market lease obligations, have adversely impacted the

Debtors’ sales and operations, with EBITDA declining by 21% over the last year, from

approximately $45.2 million in 2017 to approximately $35.6 million in 2018. These declines have

directly—and negatively—impacted liquidity and left the Debtors overleveraged. Moreover, the

Debtors’ pharmacy business has not performed as well as the Debtors anticipated, due in part to

high inventory costs from the Debtors’ primary pharmaceutical provider, McKesson Corporation

(“McKesson”).

       8.      To protect the inherent value in their businesses and to address the existing

macro-economic challenges, the Debtors retained advisors to assist management and the board of

directors regarding potential strategic alternatives to enhance the Debtors’ leverage and liquidity

and address their capital structure. With the assistance of their advisors, the Debtors began a series

of steps in late 2017 to address their balance sheet. These steps include processes to market the

Debtors’ assets, efforts to right-size their debt and lease obligations, and pursuing deleveraging

and financing opportunities. Among other successes, Debtors obtained additional financing from

Spirit Realty L.P. (“Spirit”)—their primary landlord—in January 2018.




                                                  3
Case 19-80064-TLS         Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31             Desc Main
                                   Document     Page 4 of 34


       9.      Over the past year and a half, the Debtors began implementing real-estate

rationalization measures and other operational efficiency initiatives and developing their

wholesale business and online sales presence. After an initial marketing process for the Debtors’

business in 2017 led by Houlihan Lokey, the Debtors, through receipt of feedback from the buyers

and as a result of their own analysis, learned that they would have greater value if they exited the

pharmacy business.      Using this analysis, the Debtors commenced another comprehensive

marketing process in mid-2018 for both a sale of their entire business as well as a separate process

for the sale of their pharmacy assets. As a result of these efforts, the Debtors were able to close

approximately $95 million in transactions in the months leading up to the Petition Date.        The

Debtors intend to finish these marketing efforts postpetition in an expedited auction and sale

process that will maximize the value of the Debtors’ remaining pharmacy assets. The Debtors also

began the process of closing their unprofitable locations in late 2018, and intend to complete that

process at some point during these cases.

       10.     These steps provided the Debtors the runway to negotiate a debtor-in-possession

financing facility with their secured lenders (the “DIP Facility”) and a transaction structure and

process that the Debtors believe will preserve and capitalize on the value inherent in their business

and brand. With the support of these stakeholders, the Debtors commence these cases with a

chapter 11 plan (the “Plan”) that includes a “sale toggle” feature contemplating either (a) a

reorganization supported by a Plan sponsor or (b) the sale of the Debtors’ assets to a third party.

       11.     Consistent with this process, the Debtors have been marketing their non-pharmacy

assets for several months and today file a motion seeking approval of bidding procedures to

continue these efforts. The proposed DIP Facility, the Plan, and the related bidding procedures all

are designed to facilitate a process that will maximize value, the likelihood of a going-concern




                                                 4
Case 19-80064-TLS         Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31                 Desc Main
                                   Document     Page 5 of 34


transaction for the benefit of stakeholders enterprise-wide, including thousands of jobs, and the

confirmation of the Plan, all within three months.

       12.     This process is supported by the Debtors’ existing secured lenders, who have agreed

to provide $50 million of liquidity through the DIP Facility. If the Debtors are able to secure an

acceptable Plan sponsor, (a) certain of the Debtors’ first-out secured lenders, led by Wells Fargo,

the Debtors’ prepetition agent, have indicated that they would be willing to provide an exit facility

that will satisfy all remaining first-out DIP Facility claims and (b) the Debtors’ last-out secured

lenders have agreed to equitize their DIP Facility claims. The key milestones under the DIP

Facility, subject in all respects to the Court’s availability, contemplate the following:

   •   On or before January 26, the Debtors shall conduct an auction of their remaining pharmacy
       assets;

   •   On or before January 29, the Debtors shall have obtained entry of a final order approving
       the pharmacy sales;

   •   On or before March 2, 2019, the Debtors shall have consummated the pharmacy sales,
       which shall provide the proceeds provided for in the DIP Facility budget;

   •   On or before March 14, the Debtors shall either secure a Plan sponsor or otherwise
       demonstrate their ability to consummate the Plan;

   •   On or before March 22, the Debtors shall have obtained entry of an order approving the
       Debtors’ disclosure statement;

   •   On or before April 12, the Debtors shall have obtained entry of an order approving the
       Plan; and

   •   On or before April 15, the Debtors shall have emerged from these chapter 11 cases,

       13.     The overall process itself will minimize the Debtors’ expected stay in chapter 11

and related costs. This streamlined process is critical to the Debtors’ ability to continue operating

as a going concern and preserving thousands of jobs. While the Debtors were able to secure the

support of their lenders for a reorganization under the Plan, if the Debtors fail to satisfy the above

milestones or otherwise are forced to languish in chapter 11, the Debtors will be required to


                                                  5
Case 19-80064-TLS             Doc 4      Filed 01/16/19 Entered 01/16/19 08:27:31                      Desc Main
                                         Document     Page 6 of 34


commence an orderly liquidation of their remaining assets and implement the “sale toggle” in the

Plan.

        14.      To familiarize the Court with the Debtors, their business and the relief the Debtors

are seeking in the first days of these chapter 11 cases, I have organized this declaration into five

sections. The first section provides background information on the Debtors’ corporate history and

operations. 2 The second section offers detailed information on the Debtors’ prepetition capital

structure. The third section describes the circumstances leading to the filing of these chapter 11

cases. The fourth section describes the Debtors’ prepetition restructuring efforts, including the

relevant terms of the DIP Facility and Plan. The fifth section summarizes the relief requested in,

and the legal and factual basis supporting, the Debtors’ first-day motions.

                                    Corporate History and Operations

        I.       History.

        15.      When pharmacist James Ruben opened the first Shopko store in Green Bay in 1962,

he envisioned a company focused on quality, convenience, and value. He saw the opportunity to

combine health care services with a large discount store, and in 1971 Shopko became one of the

first mass retailers to feature a pharmacy in its stores. In another innovative step, Shopko added

optical care centers to its stores in 1978.

        16.      Shopko has grown significantly since its founding in 1962 through a combination

of new store openings, acquisitions, and mergers. In 1971, Shopko merged with SUPERVALU

Inc., a Minneapolis-based grocery wholesale company. Following opening its 100th store, in

1991, Shopko was spun-off by SUPERVALU and became an independent, publicly owned



2
    Many of the financial figures presented in this declaration are unaudited and potentially subject to change, but
    reflect the Debtors’ most recent review of their business. The Debtors reserve all rights to revise and supplement
    the figures presented herein.



                                                         6
Case 19-80064-TLS         Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31           Desc Main
                                   Document     Page 7 of 34


company. In 1997, Shopko acquired Penn-Daniels Inc., a retailer operating 18 Jacks Discount

Stores. The Debtors’ largest acquisition came in 1999, with Shopko acquiring Pamida Holding

Co., a retailer operating 148 discount stores in small rural markets.

       17.     In December 2005, Sun Capital Partners, Inc. (“Sun Capital”) acquired Shopko.

The acquisition was effectuated through a merger with an affiliate of Sun Capital on December

15, 2005. Subsequently, on May 31, 2006, Spirit purchased nearly all of the Debtors’ real estate

assets through a financing provided through Spirit SPE SK Acquisition, LLC. A corporate

organizational chart is attached hereto as Exhibit B.

       18.     As of late, the Debtors have suffered from evolving customer preferences and the

rapid decline of brick-and-mortar retail which, combined with an inability to achieve anticipated

growth and a highly leveraged balance sheet, has led to recent losses and impairment of liquidity.

In the face of these headwinds, the Debtors have been implementing key initiatives to preserve

and maximize value, including implementing real-estate rationalization measures and other

operational efficiency initiatives.     These measures, coupled with Shopko’s anticipated

deleveraging, are targeted to enable Shopko to return to financial and operational success.

       A.      Business Operations.

       19.     The Debtors specialize in offering a broad assortment of name brand and private

brand merchandise including clothing and accessories, electronics, and home furnishings, as well

as Debtor-operated pharmacy and optical services departments. The Debtors outsource certain

operational functions such as customer service, credit card processing, logistics, and store

communications to various third-party service providers, allowing the Debtors to focus primarily

on product strategy and development.




                                                 7
Case 19-80064-TLS             Doc 4      Filed 01/16/19 Entered 01/16/19 08:27:31          Desc Main
                                         Document     Page 8 of 34


                  1.      The Debtors’ Brick-and-Mortar Model.

        20.       The Debtors operate general merchandise stores throughout the Midwestern,

Northwestern, and Southwestern regions of the United States. Additionally, the Debtors operate

an optical lab in De Pere, Wisconsin and have three third-party managed distribution centers in

De Pere, Wisconsin, Omaha, Nebraska, and Boise, Idaho. As of the Petition Date, the Debtors

operate approximately 367 store locations in addition to the distribution centers and optical lab.

All of the Debtors’ stores are identified on the map below.




        21.       The Debtors lease space for their domestic stores in a variety of different locations,

such as regional malls, lifestyle centers, outlet centers, strip centers, and street-level shops.

Approximately 40 percent of their real estate leasing arrangements is concentrated with Spirit, with

the remainder of the Debtors’ leasing arrangements spread out among a variety of other landlord

entities.

        22.       The Debtors use an operations model that organizes their retail stores into three

distinct store formats: Shopko, Shopko Hometown, and Shopko Express, each described in further

detail below. 3



3
    The Debtors also operate four free standing optical centers.



                                                         8
Case 19-80064-TLS        Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31           Desc Main
                                  Document     Page 9 of 34


              2.      The Debtors’ Product Offerings.

       23.    The Debtors provide three different store formats to consumers:




       24.    Shopko—a big-box store serving primarily mid-to-larger-sized communities—is

the original and largest of the Debtors’ brands, with approximately 125 stores. These stores

combine pharmacy services, optical services, and a comprehensive household goods and dry

grocery assortment, with a broad and dynamic offering of strong national brands and high-value

private label brands of apparel, home goods, toys, consumer electronics, seasonal items, and lawn

and garden products—all in an attractive, well laid out, easy-to-shop store format that average

80,000 square feet.




       25.      In 2010, Shopko introduced a retail concept to augment Shopko’s larger store

format: Shopko Hometown. The Shopko Hometown format offers a differentiated and financially

successful merchandising strategy. Shopko Hometown locations ranges in size from 15,000 to

35,000 square feet and offer approximately 70 percent of the products offered in the Shopko big-

box stores described above. Shopko Hometown, with approximately 235 stores, is a smaller

concept store developed to meet the needs of smaller communities.


                                               9
Case 19-80064-TLS         Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31           Desc Main
                                  Document      Page 10 of 34




       26.     Lastly, Shopko Express, with approximately 10 stores, serves as a neighborhood

drugstore offering a smaller range of products. Shopko Express carries a more limited selection

of general merchandise, groceries, beer, wine, health and beauty supplies, over-the-counter

medicines, and lottery tickets.

               3.      The Debtors’ Design and Marketing Processes.

       27.     The Debtors maintain control over all of their proprietary brands by designing and

sourcing in-house to drive sales, margin, and customer engagement. Merchant leaders collaborate

to ensure compatibility of product offerings across brands, while maintaining each brand’s unique

identity and core tenets. The design and merchandising process operates on a six to twelve month

design-to-store cycle to allow management to create and source the best quality at the lowest cost,

while also providing ample time for development and execution of product strategy, concept, costs,

product review, inventory strategy, and logistics, among others.

       28.     Additionally, the Debtors operate a multi-faceted marketing and advertising

strategy to reach the target audience for these brands. The Debtors employ marketing tactics that

include direct mail, newspaper inserts, email, digital, and social media platforms. The Debtors’

current marketing strategy marks a shift to include an integrated, more advanced advertising

structure, which taps into personalized connections via email, digital channels and direct mail,

while continuing to capitalize on the Debtors’ historical marketing strategies. The Debtors utilize


                                                10
Case 19-80064-TLS            Doc 4     Filed 01/16/19 Entered 01/16/19 08:27:31                   Desc Main
                                      Document      Page 11 of 34


their customer database as well as technology provided by Salesforce and Session M to launch

these targeted campaigns.

                 4.      The Debtors’ Sourcing and Procurement Procedures.

        29.      Generally, the Debtors use a combination of an internal design team and third-party

contract services to develop private-label goods. These private-label goods and third-party

merchandise are generally manufactured in Asia. In some instances, the Debtors consolidate their

foreign merchandise in China, and the merchandise is then shipped to one of the Debtors’ three

third-party-managed distribution centers in De Pere, Wisconsin, Omaha, Nebraska, and Boise,

Idaho. In other cases, the Debtors rely on a product supplier to import the product and deliver to

Debtors once it has cleared US Customs. Most of the inventory is then shipped to Debtors stores,

with some remaining in the distribution centers to replenish the Debtors’ brick and mortar stores.

        II.      The Debtors’ Prepetition Capital Structure.

        30.      As of the Petition Date, the Debtors have approximately $440 million in total

funded debt obligations, consisting of approximately $327 million and $30 million in two senior

secured asset-based revolving loans (the “Revolving Loans A” and “Revolving Loans A-1,”

respectively), and $49 million and $34.4 million under two asset-based term loans (the “Term

Loan B” and “Term Loan B-1,” respectively, and, collectively with the Revolving Loans A and

Revolving Loans A-1, the “Prepetition Credit Facility”). The following table depicts the Debtors’

prepetition capital structure. 4

                                                                            Outstanding Principal
                      Funded Debt                       Maturity
                                                                                  Amount
                 Revolving Loans A                     June 2020                   $326,278,423
                Revolving Loans A-1                    June 2020                   $30,000,000


4
    There is currently approximately $5,000 outstanding on account of the bonds.



                                                       11
Case 19-80064-TLS        Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31           Desc Main
                                 Document      Page 12 of 34



                                                                 Outstanding Principal
                  Funded Debt                   Maturity
                                                                       Amount
                  Term Loan B                  June 2020              $49,055,312
                 Term Loan B-1                 June 2020              $34,416,375
        Total Funded Debt Outstanding:                     $439,750,110


       31.    The Debtors, as borrowers and guarantors, the revolving loan lenders party thereto

(the “Prepetition ABL Lenders”), the term loan lenders party thereto (the “Prepetition Term Loan

Lenders,” and together with Prepetition ABL Lenders, the “Prepetition Lenders”), Wells Fargo

Bank, N.A., as administrative agent and collateral agent for the Revolving Loans A, Revolving

Loans A-1, and Term Loan B, Spirit, as the administrative agent and collateral agent for the Term

Loan B-1 (Wells Fargo Bank, N.A. and Spirit collectively, in such capacities, the “Credit

Agreement Agents” and together with the Prepetition Lenders, the “Prepetition Secured Parties”),

are parties to that certain Third Amended and Restated Credit Agreement, dated as of February 7,

2012 (as further amended, restated, supplemented, or otherwise modified from time to time,

the “Prepetition Credit Agreement”) governing the Prepetition Credit Facility.

       A.     Revolving Loans.

       32.    The Prepetition Credit Agreement provides for a senior secured revolving credit

facility: (a) Revolving Loans A, with a maximum availability of $700 million; and (b) Revolving

Loans A-1, with a maximum availability of $30 million (the Revolving Loans A and Revolving

Loans A-1, together, the “Prepetition ABL Loans” and such obligations owing thereunder the

“Prepetition ABL Obligations”). The Prepetition ABL Loans mature in June 2020. As of the

Petition Date, the aggregate principal amount outstanding under the Prepetition ABL Loans was

approximately $357 million. Each of the Debtors are either borrowers of or have guaranteed the

Prepetition ABL Obligations. The Prepetition ABL Obligations are secured by a first-priority lien



                                               12
Case 19-80064-TLS            Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31           Desc Main
                                     Document      Page 13 of 34


on substantially all of the Debtors’ assets that are not Term Loan Priority Collateral (as defined in

the Prepetition Credit Agreement), including accounts receivable, inventory, cash and cash

equivalents, and by a second-priority lien on the Debtors’ capital stock and other personal property,

including the Debtors’ intellectual property and investment contracts (collectively, the “Prepetition

ABL Collateral”).

       B.      Term Loans.

       33.     The Prepetition Credit Agreement also provides for term loans: (a) Term Loan B,

with a maximum availability of $72.5 million; and (b) Term Loan B-1, with a maximum

availability of $35 million (the Term Loan B and Term Loan B-1, together, the “Prepetition Term

Loans” and such obligations owing thereunder, the “Prepetition Term Loan Obligations”). The

Prepetition Term Loans mature in June 2020. As of the Petition Date, the aggregate principal

amount outstanding under the Prepetition Term Loans was approximately $83.4 million. Each of

the Debtors are either borrowers of or have guaranteed the Prepetition Term Loan Obligations.

The Prepetition Term Loan Obligations are secured by first-priority liens on the Term Loan

Priority Collateral, including the Debtors’ intellectual property, equipment, and intangibles and

books and records related to the Debtors’ intellectual property and equipment (collectively, the

“Prepetition Term Loan Collateral” and together with the Prepetition ABL Collateral, the

“Prepetition Collateral”).

       III.    Circumstances Leading Up to these Chapter 11 Cases.

       34.     A confluence of factors contributed to the Debtors’ need to commence these chapter

11 cases, including the general downturn in the retail industry and the marked shift away from

brick-and-mortar retail to online channels.      The combination of these factors has made it

increasingly difficult for Debtors to maintain their cost and capital structure as sales have remained

depressed, impairing the Debtors’ liquidity.


                                                 13
Case 19-80064-TLS        Doc 4     Filed 01/16/19 Entered 01/16/19 08:27:31              Desc Main
                                  Document      Page 14 of 34


       A.      Challenging Operating Environment.

       35.     The Debtors, like many other apparel and retail companies, have faced a

challenging commercial environment as of late brought on by a shift away from traditional

shopping at brick-and-mortar stores. Given the Debtors’ substantial brick-and-mortar presence

and associated expenses, the Debtors’ businesses have been heavily dependent on in-store traffic

and resulting sales conversions to meet sales and profitability targets. In addition, the increased

traffic to larger retailers such as Walmart, Target, and Kohl’s have further contributed to the

Debtors’ negative or declining same store sales trends since 2016, with accelerating declines to

date. The significant 2018 fiscal year performance decline was the result of a combination of

factors, including: (i) merchandising, pricing, and inventory planning operational challenges; (ii)

increased pharmacy business cost and reimbursement pressures; and (iii) the opening of new stores

in 2015 and 2016 at a pace and quantity in excess of historical precedents for growth.

       36.     Additionally, as a result of consolidation trends in the pharmacy industry, direct

and indirect remuneration fees imposed on pharmacies, sometimes weeks or months after a

medication is dispensed, has decreased pharmacy profit on a prescription transaction, sometimes

leading to a loss on the prescription. Although Shopko has been able to reduce operating costs in

its pharmacies, continually reducing costs in the face of declining margins has reached its

limit. Shopko lacks purchasing scale to purchase drugs at costs similar to large national pharmacy

chains, and has seen cost increases in excess of industry trends from its primary pharmaceutical

supplier, McKesson.

       B.      Supply Chain Challenges and McKesson Actions.

       37.     In the months leading up to the Petition Date, the Debtors began to experience

significant pressure from McKesson Corporation (“McKesson”)—the Debtors’ primary

pharmaceutical provider. In December 2018, McKesson sent the Debtors a letter notifying them


                                                14
Case 19-80064-TLS         Doc 4     Filed 01/16/19 Entered 01/16/19 08:27:31           Desc Main
                                   Document      Page 15 of 34


that it intended to reduce trade terms from 45 days to one day under that certain Restated Supply

Agreement, dated February 1, 2017 (as amended, supplement, restated or otherwise modified from

time to time, the “Supply Agreement”), and thereby accelerate approximately $70 million of

accounts payable. While the Debtors disputed McKesson’s ability to force reduce trade terms, the

Debtors had no alternative pharmaceutical supplier available on such short notice, and were forced

into a negotiated reduction in trade terms from 45 days to 21 days.

       38.     Moreover, the Debtors believe they may have a claim against McKesson under the

Supply Agreement for overcharging Debtors in violation of the Cost Indexing Program

implemented in the Supply Agreement. The Debtors have been attempting to work with

McKesson to investigate and resolve these claims since well before the commencement of these

proceedings, but McKesson has consistently refused to cooperate in any meaningful way. The

Debtor and their advisors intend to continue to investigate these claims during these chapter 11

proceedings for the benefit of the estates.

       39.     Accordingly, after careful deliberation, on December 27, 2018, Shopko ceased

payments to McKesson to preserve liquidity and manage their overall inventory position. In

response, McKesson stopped shipping inventory to Shopko. In the following days, Shopko

attempted to negotiate a resolution with McKesson, as Shopko wanted to work with McKesson to

preserve the value of the prescription files, and offered to pay cash-on-delivery for new inventory.

McKesson was not receptive to these efforts and instead took a series of actions that caused harm

to Shopko.

       40.     On December 30, 2018, McKesson sent Shopko a letter asserting reclamation rights

against all inventory it sent Shopko in the preceding 45 days. Debtors denied the allegations in

the letter, and denied McKesson’s purported right to reclamation. While the parties were still




                                                15
Case 19-80064-TLS         Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31         Desc Main
                                  Document      Page 16 of 34


discussing McKesson’s request, McKesson filed a motion in the Circuit Court of Brown County,

Wisconsin, on Saturday January 5, 2019, seeking a temporary restraining order (the “TRO”) to

effectuate McKesson’s reclamation demand.

       41.     McKesson’s TRO motion sought an immediate court order to physically remove

tens of millions of dollars of prescription drugs from the shelves of Debtors’ pharmacies. The

effect would have been to shut down every single Shopko pharmacy—if not every Shopko store—

in the country. During the TRO Hearing, on January 7, 2019, the court denied McKesson’s motion.

The court articulated that McKesson’s TRO request would likely have caused harm to the Debtors’

customers—who would lose access to medication necessary for their health and well-being.

Moreover, the court explained that it was not clear that McKesson had such reclamation rights

because another party had a senior security interest in the inventory.

       IV.     Appointment of Independent Directors.

       42.     In December 2017, to ensure a thorough and fair process with respect to the

Debtors’ review of their strategic alternatives, the board of directors or Shopko (the “Board of

Directors”) appointed Steve Winograd and Mohsin Meghji to the Board of Directors as

disinterested directors (the “Independent Directors”). Each of the Independent Directors has

extensive experience serving on boards of managers and boards of directors in distressed

situations. On November 26, 2018, the Board of Directors authorized the formation of a special

committee comprised of the Independent Directors (the “Special Committee”) to, among other

things, review matters regarding transactions or negotiations which the Special Committee

determines in whole or in part may result in conflicts of interest. The Independent Directors

subsequently retained Willkie Farr & Gallagher LLP (“Willkie Farr”) and Ducera Partners LLP as

independent counsel and independent financial advisor, respectively, to assist the Independent

Directors in their review. As part of this mandate, the Special Committee commenced an


                                                16
Case 19-80064-TLS         Doc 4     Filed 01/16/19 Entered 01/16/19 08:27:31             Desc Main
                                   Document      Page 17 of 34


investigation, among other things, into certain dividend payments to the Debtors’ direct or indirect

equity owners to determine whether the Debtors’ estates may have any claims related to such

transactions. The investigation is progressing, and the Special Committee and their advisors

continue their efforts to evaluate potential claims, if any, the Debtors may have with respect to

their relationship with, among others, the Debtors’ direct or indirect equity owners, lenders, and

other creditors.

       V.      Prepetition Restructuring Efforts.

       43.     The Debtors have diligently worked with their financial advisors since 2017 to

develop and explore strategic alternatives to maximize value for the Debtors and their

assets. These Bidding Procedures represent the final stage of a thorough and effective marketing

process conducted by the Debtors and their advisors over the course of nearly 18 months. In

May 2017, the Debtors engaged Houlihan Lokey, Inc. (“Houlihan Lokey”) to act as their financial

advisor and to explore alternatives. The Debtors and their advisors engaged in a significant

marketing process to solicit bids for an equity investment or the purchase of the Debtors’ assets in

order to obtain the greatest proceeds to maximize the value for the Debtors’ stakeholders. Despite

significant interest, this process failed ultimately to yield a mutually acceptable transaction.

       44.     In August 2018, the Debtors and their advisors commenced another process to

market the Debtors assuming an exit from the pharmacy business (which was separately marketed

and yielded numerous successful transactions). While this process yielded some interest, it became




                                                 17
Case 19-80064-TLS          Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31            Desc Main
                                   Document      Page 18 of 34


clear that the Debtors would be more attractive if marketed as part of a comprehensive

restructuring.

         45.     The Debtors contacted a select group of potential bidders, and intend to combine to

build off this process in connection with the chapter cases. To that end, the Debtors have proposed

the plan sponsor bidding procedures for the process to obtain a plan sponsor’s equity investment.

         46.     Recognizing the need to explore restructuring alternatives, in December 2017, the

Debtors retained Kirkland & Ellis LLP, as legal advisor. As a result of the Debtors’ initial efforts,

the Debtors obtained an additional $35 million in financing from Spirit in January 2018. The

Debtors used this incremental liquidity to right-size its store footprint and pursue potential sale

transactions.

         47.     In November 2018, the Debtors retained Berkeley Research Group, LLC (“BRG”),

as restructuring and financial advisor, and in July 2018 the Debtors retained Houlihan Lokey as

investment banker. Together, the Debtors and their advisors analyzed the Debtors’ capital

structure, potential sources of liquidity, and runway to facilitate the operational changes necessary

to reduce the burdensome operational costs associated with their brick-and-mortar footprint,

including various restructuring and recapitalization options. These efforts are more fully set forth

below.

         A.      Pharmacy Sale Process.

         48.     Because the Debtors have not been able to profitably operate their pharmacy

business, the Debtors diligently worked with Houlihan Lokey and the Debtors’ other advisors to

develop and explore several strategic alternatives to maximize value for the Debtors’ prescription

pharmaceutical inventory, prescription files and records, and pharmacy customer lists and patient

profiles (the “Pharmacy Assets”). As a result of this analysis, in August 2018, the Debtors and




                                                 18
Case 19-80064-TLS        Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31            Desc Main
                                 Document      Page 19 of 34


their advisors engaged in a thorough marketing process to solicit bids for the Debtors’ Pharmacy

Assets to maximize value for the Debtors’ stakeholders.

        49.    The Debtors and their advisors contacted a total of 19 strategic buyers, including

national pharmacies, pharmacy cooperatives, pharmacy wholesalers, and regional pharmacies. Of

these, 12 parties executed non-disclosure agreements with the Debtors and began conducting due

diligence.

        50.    By mid-September 2018, the deadline for interested parties to submit bids, the

Debtors received eight bids for varying subsets of the Debtors’ Pharmacy Assets. Houlihan Lokey

and the Debtors conducted multiple rounds of negotiations with these bidders and provided

detailed analyses of the value of the Pharmacy Assets at each location.

        51.    Having begun the process with approximately 234 pharmacy locations, the Debtors

and Houlihan Lokey identified 134 locations with then actionable bids from six parties for the

purchase of such respective Pharmacy Assets. Of the 134 locations with attractive bids, the

Debtors were able to execute and close agreements for 82 of the locations prior to the Petition

Date.   The closing of the sales for the Pharmacy Assets at these 82 locations resulted in

approximately $95 million in proceeds. As discussed below, the Debtors intend to continue these

sale efforts postpetition and consummate sales of the remaining Pharmacy Assets within the first

45 days of these chapter 11 cases.

        B.     Investor Marketing Process.

        52.    In addition to the marketing and sale of the Pharmacy Assets, the Debtors and their

advisors spent considerable efforts seeking out parties who would be willing to invest new capital

in the Debtors’ business. As part of this process, Houlihan Lokey contacted 14 potential sponsors

in late November.     Five of these parties attended in-person meetings with the Debtors’

management and advisors in New York on December 6, 2018. Following the December 6, 2018


                                               19
Case 19-80064-TLS        Doc 4     Filed 01/16/19 Entered 01/16/19 08:27:31            Desc Main
                                  Document      Page 20 of 34


meeting, those five parties and one party that did not attend the meetings carried out extensive due

diligence of the Debtors’ business.

       53.     Although the Debtors continued discussions with several of the potential sponsors

following their due diligence, no party has made a proposal at this time. The Debtors intend to

continue these efforts postpetition and locate a Plan sponsor under a court-approved marketing

process.

       C.      Real Estate Rationalization.

       54.     The Debtors hired Houlihan Lokey and BRG, in part, to help address the disparity

between productive and non-productive stores and rationalize the Debtors’ store footprint. With

the assistance of their advisors, the Debtors identified approximately 70 unprofitable stores that

are in the process of closing. The Debtors anticipate that they will further reduce their footprint

by more than 40 stores following the Petition Date, freeing up net-working capital and allow for

more efficient operations and inventory management. The Debtors continue to analyze whether

they can improve their operations by closing additional unproductive locations.

       D.      DIP Facility.

       55.     In connection with the strategic initiatives described above, the Debtors recognized

they would need to explore capital structure alternatives and address their liquidity issues. The

Debtors, aided by Houlihan Lokey, began to explore comprehensive restructuring alternatives that

would strengthen the Debtors’ balance sheet and provide near-term liquidity support.

       56.     Accordingly, the Debtors initiated discussions with their prepetition secured

lenders to seek additional sources of liquidity. Certain of these lenders signed confidentiality

agreements to review the Debtors’ liquidity position. After significant arm’s length and good faith

negotiations, the Debtors and Wells Fargo Bank, N.A., (“Wells Fargo”) as agent under the

Prepetition Credit Agreement, reached several key agreements to address the Debtors’ prepetition


                                                20
Case 19-80064-TLS         Doc 4     Filed 01/16/19 Entered 01/16/19 08:27:31              Desc Main
                                   Document      Page 21 of 34


liquidity concerns in order to help the Debtors continue as a going-concern and maximize the value

of the Debtors for all stakeholders. Specifically, on December 13, 2018, Wells Fargo agreed to

relax certain liquidity requirements as required under the Prepetition Credit Agreement.

       57.     In tandem with the foregoing negotiations over the Prepetition Credit Agreement,

the Debtors and Wells Fargo also engaged in discussions on restructuring options for the Debtors.

For several weeks preceding the Petition Date, the Debtors and their advisors negotiated a term

sheet detailing the terms of proposed postpetition financing with Wells Fargo and its advisors.

       58.     This term sheet contemplated that the Prepetition Lenders would provide liquidity

to the Debtors during these chapter 11 cases and that certain of the Prepetition Lenders would

submit a term sheet to provide an exit facility provided for pursuant to the Plan. After significant

arm’s length and good-faith negotiations to refine the proposal contemplated by the term sheet,

the Debtors and the Prepetition Lenders agreed to the terms of the DIP Facility. Under the DIP

Facility, certain of the Prepetition Lenders would provide $480,000,000 million in postpetition

financing, and support the Plan process described above.

       E.      Chapter 11 Plan.

       59.     The Debtors commenced these cases with a chapter 11 plan contemplated under the

DIP Facility—i.e., the Plan. The Plan contemplates value-maximizing transactions that will

significantly delever the Debtors’ balance sheet. The Debtors’ current Plan includes a toggle

feature, resulting in either (a) an equitization reorganization, which is a reorganization resulting in

either exit facility financing or a debt for equity conversion for the Debtors’ lenders under the

Revolving Loan A, Revolving Loan A-1, Term Loan B, and the Term Loan B-1 or (b) an all sale

reorganization, which allows the Debtors to enter into sales transactions for the sale or disposition

the Debtors’ assets. Moreover, the equitization restructuring provides for the implementation of

the terms of an acceptable plan sponsor investment. The Plan toggle provides the Debtors with


                                                  21
Case 19-80064-TLS             Doc 4      Filed 01/16/19 Entered 01/16/19 08:27:31                      Desc Main
                                        Document      Page 22 of 34


the latitude necessary to negotiate the precise terms of their ultimate emergence from chapter 11

and the terms of the Plan may be revised as necessary. The Pharmacy Bidding Procedures, the

Plan Sponsor Bidding Procedures, and the Plan provide for substantial flexibility with respect to

the structure of any transaction—e.g., the sale the Debtors’ Pharmacy Assets and a reorganization

that provides equity interest in reorganized company to the Debtors’ lenders or the sale and

disposition of all or only some of the Debtors’ assets. The Bidding Procedures are designed to

provide the Debtors with a cost-effective mechanism to realize value for the Debtors’ Pharmacy

Assets.

          60.    Preserving value for the benefit of the Debtors’ estates depends in large part on the

Debtors proceeding swiftly to confirmation of the Plan and minimizing the effects of the Debtors’

chapter 11 cases on the value of the Debtors. The Debtors intend to swiftly proceed with a fair

and efficient process to preserve and maximize the value of that achievement for enterprise-wide

stakeholders. Throughout these chapter 11 cases, the Debtors will endeavor to garner even greater

support for the Plan from their various creditor constituencies.

          VI.    DIP Financing, Pharmaceutical Sales, Store Closing, and Other First Day
                 Motions. 5

          61.    The Debtors have filed a number of first day motions in these chapter 11 cases

seeking orders granting various forms of relief intended to stabilize the Debtors’ business

operations, facilitate the efficient administration of these chapter 11 cases, execute on their

remaining sales of Pharmacy Assets, continue necessary store closings, and provide

postpetition financing.




5
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the respective
    first day motions.



                                                         22
Case 19-80064-TLS         Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31             Desc Main
                                  Document      Page 23 of 34


       A.      DIP Financing Motion.

       62.     As discussed above, after a series of significant, arm’s length, and good-faith

negotiations, a subset of the Prepetition Lenders provided commitments for $480 million in the

aggregate of senior and junior debtor-in-possession financing, largely consistent with the amounts

and structure of the Prepetition Facility, in addition to the consensual use of cash collateral. The

DIP Facility was preceded by a marketing process designed to secure postpetition financing on the

best available terms. In addition to providing the Debtors with incremental liquidity, the DIP

Facility will provide the Debtors with access to the use of the Prepetition Lenders’ cash collateral

on a consensual basis, and will maximize the value of the Debtors’ estates for the benefit of all of

the Debtors’ stakeholders. The terms of the DIP Facility are described in further detail in the

Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Obtain

Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens

and Providing Superpriority Administrative Expense Status, (IV) Granting Adequate Protection to

the Prepetition Lenders, (V) Modifying the Automatic Stay, and (VI) Granting Related Relief (the

“DIP and Cash Collateral Motion”), filed contemporaneously herewith and incorporated by

reference herein.

       63.     The provisions of the DIP Facility were extensively negotiated, and I believe that

entry into this facility is in the best interests of the Debtors’ estates. The Debtors have an urgent

need for the DIP Facility, that will ensure the Debtors are able to maintain their operations while

pursuing a value-maximizing transaction. Without prompt postpetition financing and access to

cash collateral, the Debtors will be unable to pay wages for their employees, preserve and

maximize the value of their estates, and administer these chapter 11 cases, causing immediate and

irreparable harm to the value of the Debtors’ estates to the detriment of all stakeholders.




                                                 23
Case 19-80064-TLS         Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31             Desc Main
                                  Document      Page 24 of 34


       64.     Indeed, in determining the Debtors’ debtor-in-possession financing needs, I

reviewed and analyzed the Debtors’ 13-week and long-term cash flow forecasts. These forecasts

take into account anticipated cash receipts and disbursements during the projected period and

consider a number of factors, including the effect of the chapter 11 filing on the operations of the

business, fees and interest expenses associated with the DIP Facility, professional fees, and

required operational payments. Based on the Debtors’ liquidity forecast, I do not expect the

Debtors to be able to generate sufficient levels of operating cash flow in the ordinary course of

business to cover their working capital needs and the projected costs of these chapter 11 cases. In

fact, the Debtors are entering chapter 11 with almost no cash on hand.

       65.     The Debtors’ need for the DIP Facility, as well as details regarding the marketing

process and terms of the DIP Facility, are outlined in further detail in the Spencer Declaration in

support of the DIP and Cash Collateral Motion, filed contemporaneously herewith.

       B.      Pharmaceutical Bidding Procedures and Sale Motion.

       66.     The Debtors have also filed the Debtors’ Motion for Entry of Order (I) Establishing

Bidding Procedures Related to the Disposition of Certain Assets Free and Clear of Liens, Claims,

Encumbrances, and Interests, (II) Approving the Transactions, and Granting Related Relief (the

“Pharmacy Sale Motion”). Pursuant to the Pharmacy Sale Motion, the Debtors seek approval of:

(a) bidding procedures by which the Debtors will solicit and select the highest or otherwise best

offer(s) for dispositions of the Pharmacy Assets that were not sold prepetition; (b) approving

certain notices therewith; (c) scheduling a final hearing to seek approval the sales of the Pharmacy

Assets; (d) approving the form agreements attached to the Pharmacy Sale Motion; and

(e) approving procedures for selling certain Pharmacy Assets not sold at the Auction.

       67.     In fact, due to recent headlines surrounding the Debtors during the marketing

process for the Pharmacy Assets, Houlihan Lokey has seen material bidders reduce their offer


                                                24
Case 19-80064-TLS            Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31            Desc Main
                                     Document      Page 25 of 34


price by over 50 percent. These bidders have indicated that their offer price will continue to

decrease the longer the Pharmacy Assets remain unsold.

        68.        The Bidding Procedures are similar to other bidding procedures Debtors typically

use in chapter 11 cases to sell certain assets. And, crucially, at this time, the Debtors are only

seeking approval of the Bidding Procedures to initiate a court-supervised process to sell their

remaining Pharmacy Assets.

        69.        The Bidding Procedures include the following proposed key dates and deadlines:

               •   Bid Deadline: January 21, 2019 at 4:00 p.m., prevailing Central Time, as the

                   deadline by which bids for the Pharmacy Assets must be actually received;

               •   Objection Deadline: January 21, 2019 at 4:00 p.m., prevailing Central Time, as

                   the deadline to object to the sale of the Pharmacy Assets;

               •   Auction: January 23, 2019 at 9:00 a.m., prevailing Central Time, will be the date,

                   if needed, which the Auction will be held at the offices of Kirkland & Ellis LLP,

                   located at 300 N. LaSalle, Chicago, Illinois 60654 (or at any other location as the

                   Debtors may hereafter designate on proper notice); and

               •   Sale Hearing: January 28, 2019 at 10:00 a.m., prevailing Central Time.

        70.        I understand that the process outlined in the Bidding Procedures is an integral

component of the milestones included in the DIP Facility, and as such believe that proceeding on

the above timeline is critical to the Debtors’ ability to achieve success in these chapter 11 cases.

If the Debtors are unable to comply with the milestones under the DIP Facility, their ability to seek

a Plan sponsor and effect a going-concern transaction that will preserve thousands of jobs will be

put at risk.




                                                    25
Case 19-80064-TLS          Doc 4     Filed 01/16/19 Entered 01/16/19 08:27:31           Desc Main
                                    Document      Page 26 of 34


        71.     Further, because McKesson is no longer providing inventory to the Debtors, the

Debtors are facing the potential that prescription pharmaceuticals will run out of stock, after which

they will be unable to fulfill customer demands. While the Debtors have been mitigating this risk

of reduced inventory via other sources—including purchasing inventory on a pre-pay basis—if the

Debtors are not able to consummate the sales under the above timeline, I believe that the value of

the Pharmacy Assets will significantly diminish. Any delay in approval of the Bidding Procedures

would likely materially reduce the recoveries received from the sale of the Pharmacy Assets, to

the detriment of all parties in interest.

        C.      Store Closing Motion.

        72.     The Debtors have also filed the Debtors’ Motion for Entry of Interim and Final

Orders (I) Authorizing the Debtors to Assume the Consulting Agreement, (II) Approving

Procedures for Store Closing Sales, and (III) Granting Related Relief (the “Store Closing

Motion”). Pursuant to the Store Closing Motion, the Debtors seek entry of interim and final orders

(i) authorizing the Debtors to (a) assume a consulting agreement with Gordon Brothers Retail

Partners (“Gordon Brothers”), and (b) close stores in accordance with the terms of the Sale

Guidelines with such sales to be free and clear of all liens, claims and encumbrances, and (ii)

approving procedures to wind-up any Additional Closing Stores pursuant to the Sale.

        73.     Recognizing the need to right-size their store footprint to align with industry

conditions, the Debtors’ management team and advisors, including Gordon Brothers and Hilco

Real Estate, LLC, undertook an extensive analysis of the Debtors’ existing store footprint, and

whether and how many stores the Debtors should close in connection with their broader financial

and operational restructuring initiatives. The Debtors’ management team and advisors ultimately

determined that it was appropriate to close and wind down up to 41 underperforming brick-and-

mortar store locations (contingent on lease negotiations with the Debtors’ landlords) (the “Store


                                                 26
Case 19-80064-TLS          Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31               Desc Main
                                   Document      Page 27 of 34


Closings”) based off factors such as historical store profitability, recent sales trends, the geographic

market in which the store is located, the potential to realize negotiated rent reductions with

applicable landlords, and specific circumstances related to each store’s performance. However,

management continues to review the real estate portfolio for additional closures.

       74.     I believe that the Store Closings and the Sales provide the best and most efficient

means of selling the Store Closure Assets to maximize the value to their estates. Delay in

consummating the Store Closings would diminish the recovery tied to monetization of the Store

Closure Assets for a number of reasons. These Stores have presented various problems, ranging

from failing to generate positive cash flow and therefore are a drain on liquidity, to Stores

producing negative cash flow, as well as others that are not generating a sufficient return on the

inventory investment the Debtors have at the location. Thus, the Debtors will realize an immediate

benefit in terms of financial liquidity upon the sales of the Store Closure Assets and the termination

of operations at the Stores. Further, the swift and orderly commencement of the Sale will allow

the Debtors to timely reject the applicable Store leases, and therefore avoid the accrual of

unnecessary administrative expenses for rent payment. Delaying the Store Closings may cause

the Debtors to pay postpetition rent at many of these stores, at a possible cost to the estate of

approximately $1.5 to $2.1 million per month.

       75.     Furthermore, I believe that assumption of the Gordon Brothers’ consulting

agreement will allow the Debtors to utilize the experience and resources of Gordon Brothers in

performing large-scale liquidations in a format that allows the Debtors to retain control over the

sale process and which will provide the maximum benefit to the estates. Indeed, the Debtors

estimate that the proceeds from the Sales will be approximately $80 million to $95 million.




                                                  27
Case 19-80064-TLS           Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31           Desc Main
                                    Document      Page 28 of 34


        D.        Wages Motion.

        76.       Additionally, the Debtors have filed the Debtors’ Motion for Entry of an Order (I)

Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation, and

Reimbursable Expenses and (B) Continue Employee Benefits Programs, and (II) Granting Related

Relief. Pursuant to the Wages Motion, the Debtors seek entry of an order: (a) authorizing the

Debtors to (i) pay all prepetition and postpetition wages, salaries, other compensation, and

reimbursable expenses on account of the Employee Compensation and Benefits Programs in the

ordinary course of business and (ii) continue to administer the Employee Compensation and

Benefits Programs, including payment of prepetition obligations related thereto; and (b) granting

related relief.

        77.       In November 2018, retention payments were made to key corporate non-insiders

(the “Corporate Retention Program”). The employees identified are key to the future success of

the Debtor. In November 9, 2018 a payment was made to a small group of corporate-level

employees. Twenty-two non-insider employees are scheduled to receive a second payment in

April 12, 2019, so long as they met certain terms and conditions, such as remaining employed one

year from the date of payment unless terminated by the Company, not for cause. The payment

obligation that will accrue on April 12, 2019 is approximately $280,000. Without the continued,

uninterrupted services of the Debtors’ Employees and Temporary/Outsourced Staff, the Debtors’

reorganization efforts will be threatened.

        E.        Other First Day Motions.

        78.       Additionally, the Debtors have filed a number of first day motions seeking orders

granting various forms of relief intended to stabilize the Debtors’ business operations, minimize

the adverse effects of the commencement of these chapter 11 cases, facilitate the efficient

administration of these chapter 11 cases, and expedite a swift and smooth restructuring of the


                                                  28
Case 19-80064-TLS        Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31            Desc Main
                                 Document      Page 29 of 34


Debtors’ balance sheet. Further, a vast majority of these motions are both procedural and non-

adversarial, in addition to having the support of the secured lenders. These motions include:

           •   Debtors’ Motion for Entry of an Order (I) Directing Joint Administration of the
               Chapter 11 Cases and (II) Granting Related Relief;

           •   Debtors’ (I) Request for an Expedited Hearing, (II) Request for Shortened Notice;
               and (III) Request for Expedited Ruling with Respect to Debtors’ Motion to
               (I) Establish Bidding Procedures and (II) Approve the Bid Protections Related to
               the Disposition of Certain Assets Free and Clear of Liens, Claims, Encumbrances,
               and Interests;

           •   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
               to (A) Continue to Operate their Cash Management System, (B) Honor Certain
               Prepetition Obligations Related Thereto, (C) Maintain Existing Business Forms,
               and (D) Perform Intercompany Transactions, and (II) Granting Related Relief;

           •   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
               to Maintain and Administer their Existing Customer Programs and Honor Certain
               Prepetition Obligations Related Thereto and (II) Granting Related Relief;

           •   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
               to Pay Prepetition Claims of Lien Claimants, Import Claimants, and 503(b)(9)
               Claimants, (II) Confirming Administrative Expense Priority of Outstanding Orders,
               and (III) Granting Related Relief;

           •   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Payment
               of Certain Prepetition and Postpetition Taxes and Fees and (II) Granting Related
               Relief;

           •   Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors
               to (A) Continue and Renew Their Liability, Property, Casualty, and Other
               Insurance Policies and Honor All Obligations in Respect Thereof, (B) Continue
               and Renew Their Prepetition Insurance Premium Financing Agreements, and
               (C) Continue the Surety Bond Programs, and (II) Granting Related Relief;

           •   Debtors’ Motion for Entry of an Order (I) Approving the Debtors’ Proposed
               Adequate Assurance of Payment for Future Utility Services, (II) Prohibiting Utility
               Companies from Altering, Refusing, of Discontinuing Services, (III) Approving the
               Debtor’s Proposed Procedures for Resolving Additional Assurance Requests, and
               (IV) Granting Related Relief;

           •   Debtors’ Application for Entry of an Order (I) Authorizing the Debtors to Employ
               and Retain Prime Clerk LLC as Claims, Noticing, and Agent, Effective Nunc Pro
               Tunc to the Petition Date and (II) Granting Related Relief;



                                               29
Case 19-80064-TLS          Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31              Desc Main
                                   Document      Page 30 of 34


             •   Debtors’ Motion for Entry of an Order (I) Extending Time to File Schedules of
                 Assets and Liabilities, Schedules of Current Income and Expenditures, Schedules
                 of Executory Contracts and Unexpired Leases, Statements of Financial Affairs, and
                 Rule 2015.3 Financial Reports, and (II) Granting Related Relief;

             •   Debtors’ Motion for (I) Authority to (A) Prepare a List of Creditors in Lieu of a
                 Formatted Mailing Matrix, (B) File a Consolidated List of the Debtors’ 30 Largest
                 Unsecured Creditors, (C) Redact Personal Information for Individual Creditors,
                 (II) Approval of the Form and Manner of Notice of the Commencement of These
                 Chapter 11 Cases, (III) Waiver of the Requirement to File a List of and Provide
                 Notices Directly to Equity Security Holders, and (IV) Related Relief;

             •   Debtors’ Motion for Approval of Procedures to Reject or Assume Executory
                 Contracts and Unexpired Leases;

             •   Debtors’ Motion to Seal Fee Letter;

             •   Debtors’ Motion for (I) Approval of Notification and Hearing Procedures for
                 Certain Transfers of and Declarations of Worthlessness with Respect to Common
                 Stock and (II) Related Relief; and

             •   Debtors’ Motion for an Order (I) Setting a Bar Date for Filing Proofs of Claim,
                 Including Claims Arising Under Section 503(B)(9) of the Bankruptcy Code,
                 (II) Setting a Bar Date for the Filing of Proof of Claim by Governmental Units,
                 (III) Setting a Bar Date for the Filing of Requests for Allowance of Administrative
                 Expense Claims, (IV) Setting an Amended Schedules Bar Date, (V) Setting a
                 Rejection Damages Bar Date, (VI) Setting a Premise Liability Claims Bar Date,
                 (VII) Approving the Form of and Manner for Filing Proofs of Claim,
                 (VIII) Approving the Notice of the Bar Dates, and (IX) Granting Related Relief.

       79.       These motions seek authority to, among other things, ensure the continuation of the

Debtors’ cash management systems and other business operations without interruption. I believe

that the relief requested in the motions is necessary to give the Debtors an opportunity to work

towards successful chapter 11 cases that will benefit all of the Debtors’ stakeholders.

       80.       Several of these motions request authority to pay certain prepetition claims.

I understand that Rule 6003 of the Federal Rules of Bankruptcy Procedure provides, in relevant

part, that the Court shall not consider motions to pay prepetition claims during the first 20 days

following the filing of a chapter 11 petition, “except to the extent relief is necessary to avoid

immediate an irreparable harm.” In light of this requirement, the Debtors have narrowly tailored


                                                 30
Case 19-80064-TLS         Doc 4     Filed 01/16/19 Entered 01/16/19 08:27:31             Desc Main
                                   Document      Page 31 of 34


their requests for immediate authority to pay certain prepetition claims to those circumstances

where the failure to pay such claims would cause immediate and irreparable harm to the Debtors

and their estates. Other relief will be deferred for consideration at a later hearing.

       81.     I am familiar with the content and substance of the motions. In my opinion,

approval of the relief sought in each of the motions is critical to successfully implementing the

Debtors’ chapter 11 strategy efficiently and with minimal disruption to their business operations,

thereby permitting the Debtors to preserve and maximize value for the benefit of all stakeholders.



                               [Remainder of Page Left Intentionally Blank]




                                                  31
Case 19-80064-TLS   Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31   Desc Main
                            Document      Page 32 of 34
Case 19-80064-TLS   Doc 4    Filed 01/16/19 Entered 01/16/19 08:27:31   Desc Main
                            Document      Page 33 of 34


                                    Exhibit A

                       Corporate Organizational Structure
                                                  Case 19-80064-TLS       Doc 4     Filed 01/16/19 Entered 01/16/19 08:27:31             Desc Main
PRIVILEGED & CONFIDENTIAL - ATTORNEY WORK PRODUCT                                  Document      Page 34 of 34
                                                                                                                                                                LEGEND

        CREDIT AGREEMENT
          OBLIGATIONS                                                                                                                                    Credit Agreement Borrower
                 Revolving Loan A

  Drawn: $547,689,000                                                            Waverly                                     H.I.G. Sun
  Max Availability: $700,000,000                        Sun SKO, LLC           Securities, LP       KLA-Shopko, LLC         Partners, Inc.
  Agent: Wells Fargo                                                                                                                                     Credit Agreement Guarantor
  Lenders: Wells Fargo Bank, National Association,
  PNC Bank, National Association, CIT Bank,
  Citizens Business Capital, a division of Citizens
  Asset Finance, Inc., Bank of Montreal, TD Bank,
  N.A., JPMorgan Chase Bank, N.A., and US Bank
                                                        69.9%                   20%                     10%                     .1%                       Board of Directors*
  National Association

  Maturity: June 19, 2020
                                                                                                                                                   *All other entities member managed
                Revolving Loan A-1                                                     SKO Group Holding,
  Drawn: $30,000,000
                                                                                             LLC                                                      BOARD OF DIRECTORS/
  Max Availability: $30,000,000                                                            Delaware                                                       MANAGERS
  Agent: Wells Fargo
  Lenders: Wells Fargo Bank, National Association,
  PNC Bank, National Association, CIT Bank,                                                                                                          SKO Group Holding, LLC
  Citizens Business Capital, a division of Citizens
  Asset Finance, Inc., and Bank of Montreal
                                                                                      Specialty Retail Shops                                         Casey Lanza
  Maturity: June 19, 2020
                                                                                         Holding Corp.                                               Donald Roach
                       Term B                                                               Delaware
  Drawn: $49,055,000
  Max Availability: $72,500,000                                                                                                                      Specialty Retail Shops
  Agent: Wells Fargo                                                                                                                                 Holding Corp.
  Lenders: Wells Fargo Bank, Gordon Brothers
  Finance Company, LLC, National Association, PNC
                                                                    Shopko Finance,                            ShopKo Holding
  Bank, National Association, and CIT Bank                                                                                                           Casey Lanza
                                                                         LLC                                    Company, LLC
  Maturity: June 19, 2020                                                                                                                            Donald Roach
                                                                       Delaware                                   Wisconsin
                                                                                                                                                     Russell Steinhorst
                      Term B-1                                                                                                                       Mohsin Meghji*
  Drawn: $34,416,000                                                                                                                                 Steve Winograd*
  Max Availability: $35,000,000
  Agent: Spirit Realty L.P.
  Lender: Spirit Realty L.P.                                                                      Retained R/E SPE,       ShopKo Stores              *Independent Directors
  Maturity: June 19, 2020
                                                                                                         LLC             Operating Co., LLC
                                                                                                      Delaware               Delaware




                                                                                                                                              ShopKo Optical                ShopKo
                   Pamida Stores                         ShopKo                                                       ShopKo Gift Card
                                                                          Penn-Daniels, LLC     SVS Trucking, LLC                             Manufacturing,           Institutional Care
                  Operating Co., LLC                  Properties, LLC                                                    Co., LLC
                                                                              Delaware              Minnesota                                     LLC                  Services Co., LLC
                      Delaware                           Minnesota                                                       Minnesota              Wisconsin                   Delaware



     Pamida                                  Place’s
  Transportation                           Associates’
       LLC                               Expansion, LLC
     Nebraska                               Missouri
